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March 19 - Gatherings and Face Mask Order
  michigan.gov/coronavirus/0,9753,7-406-98178_98455-554922--,00.html


Michigan law imposes on the Michigan Department of Health and Human Services
(MDHHS) a duty to continually and diligently endeavor to "prevent disease, prolong life, and
promote the public health," and gives the Department "general supervision of the interests of
the health and life of the people of this state." MCL 333.2221. MDHHS may "[e]xercise
authority and promulgate rules to safeguard properly the public health; to prevent the spread
of diseases and the existence of sources of contamination; and to implement and carry out
the powers and duties vested by law in the department." MCL 333.2226(d).

The novel coronavirus (COVID-19) is a respiratory disease that can result in serious illness or
death. It is caused by a new strain of coronavirus not previously identified in humans and
easily spread from person to person. COVID-19 spreads through close human contact, even
from individuals who may be asymptomatic.

In recognition of the severe, widespread harm caused by epidemics, the Legislature has
granted MDHHS specific authority, dating back a century, to address threats to the public
health like those posed by COVID-19. MCL 333.2253(1) provides that:

If the director determines that control of an epidemic is necessary to protect the public
health, the director by emergency order may prohibit the gathering of people for any purpose
and may establish procedures to be followed during the epidemic to insure continuation of
essential public health services and enforcement of health laws. Emergency procedures shall
not be limited to this code.

See also In re Certified Questions from the United States District Court, Docket No. 161492
(Viviano, J., concurring in part and dissenting in part, at 20) ("[T]he 1919 law passed in the
wake of the influenza epidemic and Governor Sleeper's actions is still the law, albeit in
slightly modified form."); id. (McCormack, C.J., concurring in part and dissenting in part, at
12). Enforcing Michigan's health laws, including preventing disease, prolonging life, and
promoting public health, requires limitations on gatherings and the establishment of
procedures to control the spread of COVID-19. This includes limiting the number, location,
size, and type of gatherings, and requiring the use of mitigation measures at gatherings as a
condition of hosting such gatherings.

On March 10, 2020, MDHHS identified the first two presumptive-positive cases of COVID-19
in Michigan. As of March 18, 2021, Michigan had seen 618,421 confirmed cases and 15,835
confirmed deaths attributable to COVID-19. Michigan was one of the states most heavily
impacted by COVID-19 early in the pandemic, with new cases peaking at nearly 2,000 per
day in late March. Strict preventative measures and the cooperation of Michiganders drove
daily case numbers dramatically down to fewer than 200 confirmed cases per day in mid-

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June, greatly reducing the loss of life. Beginning in October, Michigan again experienced an
exponential growth in cases. New cases peaked at nearly 10,000 cases per day in mid-
November, followed by increases in COVID-19 hospitalizations and deaths.

On November 15, 2020, MDHHS issued an order enacting protections to slow the high and
rapidly increasing rate of spread of COVID-19. Cases, hospitalizations, and deaths remained
high through early December, threatening hospital and public health capacity. On December
7, 2020, December 18, 2020, and January 13, 2021, MDHHS issued orders sustaining those
protections. These orders played a crucial role in slowing the spread in Michigan and had
brought new cases down to about 1,500 per day. This decrease in cases prevented Michigan's
healthcare system from being overwhelmed with a holiday surge. On January 22, 2021,
considering the reduction in cases, MDHHS issued an order permitting indoor dining. And
on February 4, 2021, in light of continued decreases in cases of COVID-19 in the state,
MDHHS issued an order permitting contact sports to be played.

Cases dropped to under 1,000 per day in mid-February. However, these trends have shifted
and cases are once again increasing. The State of Michigan had a seven-day average of 1,825
daily cases on March 11, nearly 90% higher than the number of cases in mid-February. Test
positivity has also increased 86% since the mid-February trough. The statewide positivity
was 6.5% as of March 16. While metrics remain below all-time highs, progress has stalled and
epidemiologists are concerned that this portends another spike with the presence of more
infectious variants in Michigan and the United States. A high number of cases creates
significant pressure on our emergency and hospital systems. Improvements in healthcare
capacity have reversed and hospitalizations are once again increasing. An average of 168
daily hospital admissions was seen in Michigan in the past week, with individuals under the
age of 60 accounting for nearly 50% of all new admissions. As of March 17, 1,226
Michiganders were hospitalized with COVID-19, and 5.0% of all available inpatient beds were
occupied by patients who had COVID-19. During this time, the state death rate was 1.3
deaths per million people and there were approximately 95 weekly deaths in Michigan
attributable to COVID-19. This is a 90% decrease from the second peak, which reached 13.7
deaths per million on December 10, 2020. However, deaths trends have historically lagged
four to six weeks following trend shifts in cases and hospitalizations.

Even where COVID-19 does not result in death, and where Michigan's emergency and
hospital systems are not heavily burdened, the disease can cause great harm. Recent
estimates suggest that one in ten persons who suffer from COVID-19 will experience long-
term symptoms, referred to as "long COVID." These symptoms, including fatigue, shortness
of breath, joint pain, depression, and headache, can be disabling. They can last for months,
and in some cases, arise unexpectedly in patients with few or no symptoms of COVID-19 at
the time of diagnosis. COVID-19 has also been shown to damage the heart and kidneys.
Furthermore, minority groups in Michigan have experienced a higher proportion of "long
COVID." The best way to prevent these complications is to prevent transmission of COVID-
19.


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Since December 11, 2020, the Food and Drug Administration has granted emergency use
authorization to three vaccines to prevent COVID-19, providing a path to end the pandemic.
Michigan is now partaking in the largest mass vaccination effort in modern history and is
presently working toward vaccinating at least 70% of Michigan residents 16 years of age and
older as quickly as possible.

New and unexpected challenges continue to arise: in early December 2020, a variant of
COVID-19 known as B.1.1.7 was detected in the United Kingdom. This variant is roughly 50
to 70 percent more infectious than the more common strain. On January 16, 2021, this
variant was detected in Michigan. It is anticipated that the variant, if it becomes widespread
in the state, will significantly increase the rate of new cases. Currently, Michigan is second in
the nation with respect to the number of B.1.1.7 variants detected. To date, there are over 600
cases in Michigan. CDC modeling predicts B.1.1.7 could become the predominant variant by
the end of March. At present, however, it appears that cases have plateaued. And on March 8,
2021, the first case of variant B.1.351 was detected in Michigan. A recent study suggests that
B.1.351 may impair vaccine efficacy.

In the past four weeks, spread of COVID-19 has risen 105% amongst persons aged 10-19. As
of March 11, local health departments had reported 162 new and ongoing outbreaks among
K-12 schools, with 54 of those outbreaks reported in the week prior. Additionally, there are
135 identified outbreaks among minors participating in school and club sports. The social
activities surrounding sports, such as team meals and parties, may be a major factor in this
spread. To promote the continued safe operation of in-person schools, additional mitigation
measures related to youth sports activities are warranted.

Considering the above, and upon the advice of scientific and medical experts, I have
concluded pursuant to MCL 333.2253 that the COVID-19 pandemic continues to constitute
an epidemic in Michigan. I have also, subject to the grant of authority in 2020 PA 238
(signed into law on October 22, 2020), herein defined the symptoms of COVID-19 based on
the latest epidemiological evidence. I further conclude that control of the epidemic is
necessary to protect the public health and that it is necessary to restrict gatherings and
establish procedures to be followed during the epidemic to ensure the continuation of
essential public health services and enforcement of health laws. As provided in MCL
333.2253, these emergency procedures are not limited to the Public Health Code.

I therefore order that:




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 1. Definitions.
      1. "Camp" means a day, residential, travel, or troop camp for children (as defined by
         Rule 400.11101(1)(q) of the Michigan Administrative Code).
      2. "Child care organization" means that term as defined by section 1(b) of the Child
         Care Organizations Act, 1973 PA 116, as amended, MCL 722.111(b)).
      3. "Contact sports" means sports involving more than occasional and fleeting
         contact, including: football; basketball; rugby; field hockey; soccer; lacrosse;
         wrestling; hockey; boxing; futsal; martial arts with opponents; and other sports
         meeting those criteria.

 4. "Competition" means a game of skill played between opposing teams.

 5. "Employee" means that term as defined in section 2(c) of the Improved Workforce
    Opportunity Wage Act, 2018 PA 337, as amended, MCL 408.932(c), and also includes
    independent contractors.
 6. "Entertainment and recreational facility" includes: auditoriums; cinemas; concert halls;
    performance venues; sporting venues; theaters; night clubs; strip clubs; water parks;
    archery ranges; amusement parks; arcades; bingo halls; bowling centers; casinos; gun
    ranges; laser tag arenas; trampoline parks; and the like.
 7. "Exercise facility" means a location in which individuals participate in individual or
    group physical activity, including gymnasiums, fitness centers, and exercise studios.
 8. "Face mask" means a tightly woven cloth or other multi-layer absorbent material that
    closely covers an individual's mouth and nose.
 9. "Fully vaccinated persons" means persons for whom at least two weeks has passed after
    receiving the final dose of an FDA-approved or authorized COVID-19 vaccine.
10. "Food service establishment" means that term as defined in section 1107(t) of the Food
    Law, 2000 PA 92, as amended, MCL 289.1107(t).
11. "Gathering" means any occurrence, either indoor or outdoor, where two or more
    persons from more than one household are present in a shared space.
12. "Household" means a group of persons living together in a shared dwelling with
    common kitchen or bathroom facilities. In dwellings with shared kitchen or bathroom
    facilities occupied by 20 or more unrelated persons, households are defined by
    individuals who share a bedroom.
13. "Indoors" means within a space that is fully or partially enclosed on the top, and fully or
    partially enclosed on two or more contiguous sides. Additionally, in a space that is fully
    or partially enclosed on the top, and fully or partially enclosed on two non-contiguous
    sides, any part of that space that is more than 8 feet from an open side is indoors.
14. "Non-contact sports" means sports that are not contact sports.
15. "Outdoors" means a space that is not indoors.
16. "Organized sports" means competitive athletic activity requiring skill or physical
    prowess and organized by a sports organizer.
17. "Practice" means a training session for a game of skill, involving only members of a
    single team.

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18. "Principal symptoms of COVID-19" means at least 1 of fever, uncontrolled cough, or
    atypical new onset of shortness of breath, or at least 2 of the following not explained by
    a known physical condition: loss of taste or smell, muscle aches, sore throat, severe
    headache, diarrhea, vomiting, or abdominal pain. Per section 1(j) of 2020 PA 339, this
    definition represents the latest medical guidance, and serves as the controlling
    definition.
19. "Sports organizer" means an association or other organization that sets and enforces
    rules to ensure the physical health and safety of all participants for an organized sport.
    Sports organizers at the sub-association level must follow all health and safety rules
    and procedures set by the association of which they are a member.
20. "Stadiums and arenas" means venues with fixed seating for at least 5,000 spectators.




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 2. General capacity limitations at gatherings.
      1. Indoor gatherings:
            1. Are prohibited at residential venues, except where no more than 15 persons
               from no more than 3 households are gathered. Such gatherings should be
               held consistent with guidance issued by the Department of Health and
               Human Services for such gatherings; and
            2. Are prohibited at non-residential venues, except where no more than 25
               persons are gathered.
      2. Outdoor gatherings are permitted only as follows:
            1. At residential venues, where 50 or fewer persons are gathered;
            2. At non-residential venues, where 300 or fewer persons are gathered.
      3. The limitations to gatherings in sections 2(a) and 2(b) do not apply to:
            1. Incidental gatherings of persons in a shared space, such as frequently occur
               in an airport, bus station, exercise facility, food service establishment,
               shopping mall, or public pool, except as prohibited in section 3;
            2. Workplace gatherings that occur consistent with the Emergency Rules
               issued by MIOSHA on October 14, 2020;
            3. Voting or official election-related activities;
            4. Training of law enforcement, correctional, medical, or first responder
               personnel, insofar as those activities cannot be conducted remotely;
            5. Education and support services at public, nonpublic, and boarding schools
               serving students in prekindergarten through grade 12;
            6. Children in a child care organization, after school program, or camp setting;
            7. Persons traveling on a school bus or public transit;
            8. Gatherings for the purpose of medical treatment, including mental health
               and substance use disorder support services;
            9. Residential care facilities, which are subject to the March 17, 2021, epidemic
               order entitled "Requirements for Residential Facilities," or any replacement
               of that order;
           10. Cardiopulmonary resuscitation courses and swimming instruction courses;
           11. Proctored, nationally-administered admissions and certification
               examinations that are not available remotely, provided that examinees are
               spaced no less than 6 feet apart;
           12. Gatherings at entertainment and recreational facilities that comply with the
               restrictions set forth in section 3(a) of this order;
           13. Gatherings for the purposes of indoor group fitness, exercise, or sports that
               comply with the restrictions set forth in sections 4(b), 4(d), 4(e), and 6 of
               this order;
           14. Gatherings for public health or other emergency purposes.




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      4. As a condition of hosting a gathering under this order, organizers and facilities
         must design the gathering to encourage and maintain physical distancing, and
         must ensure that persons not part of the same group maintain 6 feet of distance
         from one another to the extent possible.




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 3. Gathering restrictions for entertainment facilities, recreational facilities,
    and food service establishments.




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      1. Gatherings are prohibited at entertainment facilities and recreational facilities
         unless:
            1. Venues and activities held at those venues comply with masking and
               distancing requirements in this subsection. Venues that cannot consistently
               adhere to these requirements (e.g., water parks, dance floors at a nightclub,
               or children's indoor playgrounds inasmuch as staff are not present to
               prevent physical contact) may not be open.
                   1. Patrons must remain masked at all times, except when eating or
                      drinking in designated areas;
                   2. Groups of patrons participating in activities together (such as those
                      seated together at a concert or movie, or bowling in the same lane or
                      group of lanes) must not exceed 25 persons indoors, or 300 persons
                      outdoors;
                   3. Patrons must be prevented from mingling with or engaging in physical
                      contact with persons outside their group; and
                   4. For sports practice and competition, participants must comply with
                      the restrictions set forth in section 6;
            2. If participating in stationary activities, groups are spaced or seated at least 6
               feet apart. If participating in non-stationary activities, groups maintain a
               consistent 6 feet of distance from other groups at all times;
            3. Consumption of food or beverages is permitted only where patrons are
               seated, groups of patrons are separated by at least 6 feet, no more than 6
               patrons are seated at a table, and groups of patrons do not intermingle;
            4. Venues that are also food service establishments, as a condition of offering
               food or beverages, ensure their designated dining areas comply with all
               requirements in subsection (b);
            5. Venues abide by the following density limitations:
                   1. Where applicable, occupancy must not exceed 50% of the limits
                      established by the State Fire Marshal or a local fire marshal; and
                   2. Groups must remain at least 6 feet apart at all times;




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           6. Venues abide by the following maximum capacity limitations:
                 1. For indoor entertainment and recreational facilities, no more than
                    300 patrons may be gathered within any distinct space within the
                    venue;
                 2. For outdoor entertainment and recreational facilities and for stadiums
                    and arenas, except as provided in subsection (E), no more than 1,000
                    patrons may be gathered;
                 3. At indoor stadiums and arenas with a fixed seating capacity of up to
                    10,000, no more than 375 patrons may be gathered;
                4. At indoor stadiums and arenas with a fixed seating capacity greater
                    than 10,000, no more than 750 patrons may be gathered;
                 5. At outdoor stadiums and arenas that establish and abide by an
                    infection control plan that complies with the MDHHS publication
                    entitled Enhanced Outdoor Stadium and Arena Guidance, gatherings
                    may not exceed 20% of the venue's fixed seating capacity. Such venues
                    must post their plan publicly, including on a public website. Infection
                    control plans must be provided to the local health department and
                    MDHHS at least seven days before scheduled events. Sports
                    organizers of events occurring at outdoor stadiums and arenas
                    proceeding under this subsection must administer a testing program
                    for all players as specified in the MDHHS publication entitled Interim
                    Guidance for Athletics issued March 20, 2021, for all players.




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       2. Gatherings are prohibited at food service establishments, whether indoor or
          outdoor, unless:
              1. Consumption of food or beverages is permitted only in a designated dining
                 area where patrons are seated, groups of patrons are separated by at least 6
                 feet, no more than 6 patrons are seated together (at a table, booth, or group
                 of fixed seats), and groups of patrons do not intermingle;
             2. Patrons are not permitted to gather in common areas in which people can
                 congregate, dance, or otherwise mingle;
             3. In the event that an employee of a food service establishment is confirmed
                 positive for COVID-19 or shows principal symptoms of COVID-19 while at
                 work, the food service establishment has been deep cleaned consistent with
                 Food and Drug Administration and CDC guidance;
             4. At establishments offering indoor dining:
                      1. The number of patrons indoors (or in a designated dining area of a
                         multipurpose venue) does not exceed 50% of normal seating capacity,
                         or 100 persons, whichever is less, provided, however, that this
                         limitation does not apply to soup kitchens and shelters;
                     2. At food service establishments, or the designated dining area of a
                         multipurpose venue, indoor dining is closed between the hours of
                         11:00 PM and 4:00 AM;
                     3. The venue displays, in a prominent location, the MDHHS "Dining
                         During COVID-19" brochure.
       3. Gatherings at non-tribal casinos may not exceed 30% of total occupancy limits
          established by the State Fire Marshal or a local fire marshal.




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 4. Gathering restrictions for other facilities. In addition to the gathering
    limitations set forth elsewhere in this order, the following limitations apply to
    gatherings in the following facilities:
       1. A gathering at a retail setting, library, or museum must not exceed 50% of total
          occupancy limits established by the State Fire Marshal or a local fire marshal.
          Nevertheless, a retail store, library, or museum may permit one customer at a
          time to enter if strict adherence to the 50% total occupancy limit would otherwise
          result in closure. Spaces for indoor dining, including food courts, must comply
          with the requirements for food service establishments as set forth in section 3(b).
              1. Retail stores must establish lines to regulate entry and checkout, with
                 markings for patrons to enable them to stand at least 6 feet apart from one
                 another while waiting.
       2. At exercise facilities:
              1. Gatherings must not exceed 30% of the total occupancy limits established
                 by the State Fire Marshal or a local fire marshal;
              2. There must be at least 6 feet of distance between each occupied workout
                 station and physical layout of the space must be established such that
                 exercisers can move between stations while maintaining 6 feet of distance
                 from others at all times; and
              3. Gatherings for group fitness activities or classes are permitted, provided
                 that all persons maintain at least 6 feet of distance from others at all times
                 and wear a face mask at all times.
       3. Gatherings in waiting rooms at outpatient health care facilities, veterinary clinics,
          and other businesses are prohibited unless the facility implements a system to
          ensure that persons not of the same group maintain 6 feet of distance. To the
          extent possible, this system must include a policy that patients wait in their cars
          for their appointments to be called.
       4. Gatherings at an indoor pool not otherwise prohibited by this order must not
          exceed 30% of bather capacity limits described in Rule 325.2193 of the Michigan
          Administrative Code. Gatherings at an outdoor pool not otherwise prohibited by
          this order must not exceed 50% of bather capacity limits described in Rule
          325.2193 of the Michigan Administrative Code.
       5. Gatherings at ice and roller rinks are permitted, provided that occupancy is
          limited to 10 persons per 1,000 square feet, including within the exercise space.
          Gatherings for the purpose of open skating are permitted.
       6. In facilities offering non essential personal care services, including hair, nail,
          tanning, massage, traditional spa, tattoo, body art, piercing services, and similar
          personal care services, all services must be provided by appointment, and
          gatherings in waiting areas are prohibited.




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  5. Schools, colleges, technical schools, and universities.
        1. Subject to local health department and school district authority, and consistent
           with the applicable restrictions in section 6, gatherings at public, nonpublic, and
           boarding schools are permitted for the purpose of conducting in-person
           instruction and extracurricular activities in prekindergarten through grade 12.
       2. Gatherings at public, nonpublic, and boarding schools are permitted for the
           purpose of child care programs, tutoring and academic support, and for providing
           services to students in need, including food distribution, access to internet
           connectivity, and physical and mental health care services.
       3. Gatherings at colleges and universities, trade schools, and career schools are
           permitted for the purpose of holding in-person classes and other events
           sponsored by the educational institution. The limits imposed by section 2(a) and
           2(b) do not apply to such gatherings, but they remain subject to all other
           applicable requirements of this order.

 6. Organized sports gathering restrictions.
      1. Gatherings for the purpose of contact sports practice and competition are
         prohibited unless:
             1. Participants remain masked; or
             2. Where it would be unsafe for participants to remain masked, all participants
                are tested consistent with the MDHHS publication entitled Interim
                Guidance for Athletics issued March 20, 2021.
      2. Gatherings for the purpose of sports practice and competition are prohibited
         unless participants maintain 6 feet of distance from each other when not engaged
         in play.
      3. Gatherings of non-participants for the purpose of observing sports practice and
         competition must be held consistent with section 3.
      4. Sports organizers, venues, and teams must ensure that all gatherings for the
         purpose of sports competition and practice comply with the requirements of this
         order.
      5. Even where it is not required, sports organizers are encouraged to administer a
         testing program as specified in the MDHHS publication entitled Interim
         Guidance for Athletics issued March 20, 2021.
      6. Beginning on April 2, 2021, gatherings for the purpose of sports practice and
         competition involving persons age 13 to 19 are prohibited unless all such persons
         participate in a testing program as specified in the MDHHS publication entitled
         Interim Guidance for Athletics issued March 20, 2021.




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  7. Face mask requirement at gatherings.
        1. All persons participating in gatherings are required to wear a face mask.
       2. As a condition of gathering for the purpose of transportation, transportation
           providers must require all staff and patrons to use face masks, and must enforce
           physical distancing among all patrons to the extent feasible.
       3. Except as provided elsewhere in this order, a person responsible for a business,
           store, office, government office, school, organized event, or other operation, or an
           agent of such person, must prohibit gatherings of any kind unless the person
           requires individuals in such gatherings (including employees) to wear a face
           mask, and denies entry or service to all persons refusing to wear face masks while
           gathered.
       4. A person responsible for a business, store, office, government office, school,
           organized event, or other operation, or an agent of such person, may not assume
           that someone who enters the facility without a face mask falls within one of the
           exceptions specified in section 8 of this order, including the exception for
           individuals who cannot medically tolerate a face mask. An individual's verbal
           representation that they are not wearing a face mask because they fall within a
           specified exception, however, may be accepted.
       5. A person responsible for a child care organization or camp, or an agent of such
           person, must not allow gatherings unless face masks are worn by all staff.
           Children must wear face masks as indicated below:
               1. All children 2 years and older when on a school bus or other transportation
                  provided by the child care organization or camp;
               2. All children 4 years and older when in indoor hallways and indoor common
                  areas;
               3. All children 5 years and older when in classrooms, homes, cabins, or similar
                  indoor settings.
       6. Participants in gatherings for any exercise activities, group fitness, or organized
           sports must comply with face mask requirements listed in the MDHHS
           publication entitled Interim Guidance for Athletics issued March 20, 2021.




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 8. Exceptions to face mask requirements. Although a face mask is strongly
    encouraged even for individuals not required to wear one (except for children under the
    age of 2), the requirement to wear a face mask in gatherings as required by this order
    does not apply to individuals who:
       1. Are younger than 5 years old, outside of a child care organization or camp setting
          (which are subject to requirements set out in section 7(e));
       2. Cannot medically tolerate a face mask;
       3. Are eating or drinking while seated at a food service establishment or at a private
          residence;
       4. Are exercising outdoors and able to consistently maintain 6 feet of distance from
          others;
       5. Are swimming;
       6. Are receiving a medical or personal care service for which removal of the face
          mask is necessary;
       7. Are asked to temporarily remove a face mask for identification purposes;
       8. Are communicating with someone who is deaf, deafblind, or hard of hearing and
          whose ability to see the mouth is essential to communication;
       9. Are actively engaged in a public safety role, including but not limited to law
          enforcement, firefighters, or emergency medical personnel, and where wearing a
          face mask would seriously interfere in the performance of their public safety
          responsibilities;
      10. Are engaging in a religious service;
      11. Are giving a speech for broadcast or to an audience, provided that the audience is
          at least 12 feet away from the speaker; or
      12. Are participating in a testing program specified in the MDHHS publication
          entitled Interim Guidance for Athletics issued March 20, 2021, and are engaged
          in practice or competition where the wearing of a mask would be unsafe;
      13. Are engaging in an activity that requires removal of a mask not listed in another
          part of this section, and are in a facility that provides ventilation that meets or
          exceeds 60 ft3/min of outdoor airflow per person;
      14. Are at a residential gathering where all persons are fully vaccinated and not
          experiencing the principal symptoms of COVID-19.




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 9. Contact tracing requirements for particular gatherings.
      1. Gatherings are prohibited at the following facilities unless the facility maintains
         accurate records, including date and time of entry, names of patrons, and contact
         information, to aid with contact tracing, and denies entry for a gathering to any
         visitor who does not provide, at a minimum, their name and phone number:
             1. All businesses or operations that provide hair, nail, tanning, massage,
                traditional spa, tattoo, body art, piercing services, or similar personal care
                services; and
             2. Exercise facilities.
      2. All businesses or operations that provide in-home services, including cleaners,
         repair persons, painters, and the like must not permit their employees to gather
         with clients unless the business maintains accurate appointment records,
         including date and time of service, name of client, and contact information, to aid
         with contact tracing.
      3. All dine-in food service establishments must maintain accurate records of the
         names and phone numbers of patrons who purchase food for consumption on the
         premises, and the date and time of entry.
      4. Upon request, businesses, schools, and other facilities must provide names and
         phone numbers of individuals with possible COVID-19 exposure to MDHHS and
         local health departments to aid in contact tracing and case investigation efforts.
      5. Data collected under this section:
             1. Must not be sold, or used for sales or marketing purposes without the
                express consent of each patron;
             2. Must be protected as confidential information to the fullest extent of the
                law;
             3. Must not be provided to law enforcement or immigration officials except
                upon receipt of a lawful subpoena from a court or other lawful court order;
             4. Must be retained for 28 days by the collecting organization, after which time
                the data must be destroyed. If facilities use existing data to fulfill this
                requirement, they may instead follow their own pre-existing data retention
                and destruction policies at the conclusion of the 28-day retention period.




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  10. Implementation.
        1. Nothing in this order modifies, limits, or abridges protections provided by state or
           federal law for a person with a disability.
        2. Under MCL 333.2235(1), local health departments are authorized to carry out and
           enforce the terms of this order.
        3. Law enforcement officers, as defined in the Michigan Commission on Law
           Enforcement Standards Act, 1965 Public Act 203, MCL 28.602(f), are deemed to
           be "department representatives" for purposes of enforcing this order, and are
           specifically authorized to investigate potential violations of this order. They may
           coordinate as necessary with the appropriate regulatory entity and enforce this
           order within their jurisdiction.
        4. Neither a place of religious worship nor its owner is subject to penalty under this
           order for allowing religious worship at such place. No individual is subject to
           penalty under this order for engaging in religious worship at a place of religious
           worship.
        5. Consistent with MCL 333.2261, violation of this order is a misdemeanor
           punishable by imprisonment for not more than 6 months, or a fine of not more
           than $200.00, or both.
        6. Nothing in this order affects any prosecution or civil citation based on conduct
           that occurred before the effective date of this order.
        7. Nothing in this order should be taken to interfere with or infringe on the powers
           of the legislative and judicial branches to perform their constitutional duties or
           exercise their authority, or protections guaranteed by the state or federal
           constitution under these emergency circumstances.
        8. Consistent with any rule or emergency rule promulgated and adopted in a
           schedule of monetary civil penalties under MCL 333.2262(1) and applicable to
           this order, violations of this order are also punishable by a civil fine of up to
           $1,000 for each violation or day that a violation continues.
        9. If any provision of this order is found invalid by a court of competent jurisdiction,
           whether in whole or in part, such decision will not affect the validity of the
           remaining part of this order.

This order takes effect on March 22, 2021, at 12:01 AM, at which time the March 2, 2021,
order entitled Gatherings and Face Mask Order is rescinded. This order remains in effect
through April 19, 2021, at 11:59 PM. Persons with suggestions and concerns are invited to
submit their comments via email to COVID19@michigan.gov.

Date: March 19, 2021

Elizabeth Hertel, Director

Michigan Department of Health and Human Services

March 19 - Gatherings and Face Mask Order (PDF)

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